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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                CINCINNATI DIVISION

 In Re:                                          Case No. 1:16-bk-13870

 Stacey E. Goins                                 Chapter 13

 Debtor.                                         Judge Beth A. Buchanan

                                CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on October 30, 2019 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by ordinary U.S. Mail on October 30, 2019 addressed to:

          Stacey E. Goins, Debtor
          4053 St. Williams Avenue
          Cincinnati, OH 45205

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
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                                                 Loveland, OH 45140
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